                                                       THE HONORABLE MARY JO HESTON
 1                                                     CHAPTER 13
                                                       LOCATION: Tacoma, Washington
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                     IN THE UNITED STATES BANKRUPTCY COURT FOR THE
 7                     WESTERN DISTRICT OF WASHINGTON AT TACOMA

 8
     In Re:                                            Case No. 18-42845-MJH
 9
     BRIAN DOUGLAS DESKINS AND
                                                       DECLARATION OF TRACY MAHER IN
10                                                     SUPPORT OF MOTION FOR
     CHERYL ANN DESKINS,
                                                       DETERMINATION OF FINAL CURE AND
11                                                     PAYMENT
                                            Debtors.
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13   I, TRACY MAHER, hereby declare that the following statements are true and correct to the
14   best of my knowledge, and am subject to penalty of perjury under the laws of the United States:
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16         1. I am over the age of eighteen, a resident of the United States of America, and otherwise
17             competent to provide the following testimony from my personal knowledge;
18         2. I am employed by Michael G. Malaier, Chapter 13 Trustee charged with administering
19             the instant bankruptcy estate;
20         3. Debtors’ confirmed plan provided for the second mortgage to be paid direct, ECF No.
21             40. During the duration of the confirmed plan providing for the second mortgage to be
22             paid direct, there were Notice of Mortgage Payment Changes filed 11/1/2018,
23             12/3/2023, 1/2/2019, 2/4/2019, 3/4/2019, 4/1/2019, 5/2/2019, 6/4/2019, 6/27/2019 and
24             7/31/2019.
25
                                                                                  Michael G. Malaier
                                                                                   Chapter 13 Trustee
                                                                                  2122 Commerce St.
     Declaration in Support of Motion - 1                                        Tacoma, WA 98402
                                                                                      (253) 572-6600
 1         4. An Order was entered modifying the plan on May 11, 2020, providing for the second

 2             mortgage to be paid inside debtor’s plan, ECF No. 72. An amended proof of claim was

 3             filed July 29, 2020. There have been no Notice of Mortgage Payment Changes filed

 4             since the modification approved by the Court May 11, 2020.

 5         5. The Trustee filed its’ Notice of Final Cure on July 8, 2023, ECF No. 87.

 6         6. According to our records, Debtors are current on their mortgage payments through

 7             September, 2023 with their next mortgage payment due October 1, 2023. The trustee

 8             reflects that the debtor is current pre and post-petition. See ECF No. 87.

 9         7. The Creditor, Legacy Mortgage Asset Trust 2021-SL2 filed its Response to Notice of

10             Final Cure on the 28th day of July, 2023. The Response asserted that the Debtor was

11             post-petition delinquent $12,636.06.

12         8. The Response lists post-petition payment increases beginning in April of 2022 through

13             July of 2023, not of which were filed with the Court.

14         9. The Trustee’s calculation of the alleged post-petition payment changes through

15             September of 2023 is as follows:

16             05/20 - 04/21 = $433.43 x 12

17             05/21 - 03/22 = $433.43 x 11

18             04/22 - 04/22 = $611.78 x 01

19             05/22 - 05/22 = $674.77 x 01

20             06/22 - 06/22 = $709.12 x 01

21             07/22 - 07/22 = $720.99 x 01

22             08/22 - 08/22 = $752.92 x 01

23             09/22 - 09/22 = $778.99 x 01

24             10/22 - 10/22 = $781.13 x 01

25
                                                                                    Michael G. Malaier
                                                                                     Chapter 13 Trustee
                                                                                    2122 Commerce St.
     Declaration in Support of Motion - 2                                          Tacoma, WA 98402
                                                                                        (253) 572-6600
 1             11/22 - 11/22 = $815.70 x 01

 2             12/22 - 12/22 = $833.81 x 01

 3             01/23 - 02/23 = $854.21 x 02

 4             03/23 - 03/23 = $831.59 x 01

 5             04/23 - 08/23 = $854.21 x 05

 6             Total alleged to have been paid: $23,459.16

 7             Total that has been paid $17,337.20

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 9             Shortage: $6,121.96

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11             That I will provide any further information required by the Court to assist in its

12             adjudication of the issues presented in the motion for determination of final cure and

13             payment.

14         DATED this 22nd day of August, 2023 at Tacoma, Washington.
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                                                   /s/ Tracy Maher
17                                                 Tracy Maher
                                                   Office Manager to
18                                                 Michael G. Malaier
                                                   Chapter 13 Trustee
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                                                                                     Michael G. Malaier
                                                                                      Chapter 13 Trustee
                                                                                     2122 Commerce St.
     Declaration in Support of Motion - 3                                           Tacoma, WA 98402
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